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                             IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,

                 Plaintiff,

v.                                                                                  Cr. No. 19-4440 MV

NICHOLOUS PHILLIPS,

                 Defendant.

                                 UNITED STATES’ EXHIBIT LIST

 United States’ Attorneys:           Defendant’s Attorney:                United States District Court
 Jaymie L. Roybal                    Joe Romero                           District of New Mexico
 Jack Burkhead
                                                                          Trial Date: September 28, 2020
 Presiding Judge:                    Court Reporter:                      Courtroom Deputy:
 Honorable Martha Vazquez            Carmela McAlister                    Linda Zieba-Romero

 USA        WITNESS           DATE   OBJ    ADM                  DESCRIPTION OF EXHIBIT
 EXH.
 NO.
  1          Amy Gee                                 Certified copy of Defendant’s conviction in the District
                                                     of New Mexico, cause no. 09-CR-3601 (BN 082-086)
     2       Amy Gee                                 Certified copy of Defendant’s conviction in the State of
                                                     New Mexico, cause no. D-202-2006-CR-2643 (BN 60-
                                                     62)
     3       Amy Gee                                 Certified copy of Defendant’s conviction in the State of
                                                     New Mexico, cause no. D-809-2007-CR-92 (BN 69-73)
     4       Amy Gee                                 Certified copy of Defendant’s conviction in the State of
                                                     New Mexico, cause no. D-809-2005-CR-18 (BN 51-54)
     5       Amy Gee                                 Certified copy of Defendant’s conviction in the State of
                                                     New Mexico, cause no. D-809-2004-CR-19 (BN 55-59)
     6       Amy Gee                                 Certified copy of Defendant’s conviction in the State of
                                                     Colorado, cause no. 2004-CR-167 (BN 562)
     7       Amy Gee                                 Photograph: Defendant’s Residence (BN 417)
     8       Amy Gee                                 Photograph: Defendant’s Truck in Front of Residence
                                                     (BN 420)
     9       Amy Gee                                 Defendant’s Backpack
     10      Amy Gee                                 Bundles (2) of Methamphetamine
     11      Amy Gee                                 United States District Court Gun Control Form (BN 101-
                                                     102)
     12    Kelly Coppin                              Audio Clip: Kelly Coppin 911 Call, November 15, 2019
                                                     (45 seconds)
     13      Jonathan                                Video Clip: Officer Sanchez Lapel Video (2 mins, 18
             Sanchez                                 seconds)
     14      Jonathan                                Video Clip: Officer Sanchez Lapel Video (37 seconds)
             Sanchez


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15      Jonathan                   Video Clip: Officer Sanchez Lapel Video (34 seconds)
        Sanchez
16      Jonathan                   Video Clip: Officer Sanchez Lapel Video (29 seconds)
        Sanchez
17    MDC Records                  List of Defendant’s Jail Calls, November 16-21, 2019
       Custodian                   (BN 317-318)
18   Samuel Supnick                Photograph: Search of Defendant’s Residence (BN 396)
19   Samuel Supnick                Photograph: Severed Glock 23 Pistol Frame (piece 1)
                                   (BN 434)
20   Samuel Supnick                Photograph: Severed Glock 23 Pistol Frame (piece 1)
                                   (BN 397)
21   Samuel Supnick                Photograph: Severed Glock 23 Pistol Frame (piece 1)
                                   (BN 401)
22   Samuel Supnick                Photograph: Severed Glock 23 Pistol Frame (piece 1)
                                   (BN 403)
23   Samuel Supnick                Photograph: Severed Glock 23 Pistol Frame (piece 1)
                                   (BN 404)
24   Samuel Supnick                Severed Glock 23 Pistol Frame (piece 1)
25   Samuel Supnick                Photograph: Severed Glock 23 Pistol Frame (piece 2)
                                   (BN 406)
26   Samuel Supnick                Photograph: Severed Glock 23 Pistol Frame (piece 2)
                                   (BN 407)
27   Samuel Supnick                Photograph: Severed Glock 23 Pistol Frame (piece 2)
                                   (BN 409)
28   Samuel Supnick                Photograph: Severed Glock 23 Pistol Frame (piece 2)
                                   (BN 411)
29   Samuel Supnick                Photograph: Severed Glock 23 pistol Frame (piece 2)
                                   (BN 412)
30   Samuel Supnick                Photograph: Severed Glock 23 Pistol Frame (piece 2)
                                   (BN 413)
31   Samuel Supnick                Severed Glock 23 Pistol Frame (piece 2)
32   Samuel Supnick                Audio Clip: Defendant’s Jail Call No. 1 (10 seconds)
33   Samuel Supnick                Photograph: Severed Glock 23 Pistol Frame (both pieces)
                                   (BN 351)
34   Samuel Supnick                Photograph: Gas Can (BN 445)
35   Samuel Supnick                Audio Clip: Defendant’s Jail Call No. 2 (38 seconds)
36   Samuel Supnick                Photograph: Ammunition (BN 360)
37   Samuel Supnick                Photograph: Ammunition Stamp (BN 362)
38   Samuel Supnick                Photograph: Ammunition Stamp (BN 365)
39   Samuel Supnick                26 Rounds of Assorted Brand .40 Caliber Ammunition
40   Samuel Supnick                Audio Clip: Defendant’s Jail Call No. 3 (27 seconds)
41   Samuel Supnick                Audio Clip: Defendant’s Jail Call No. 4 (10 seconds)
42   Samuel Supnick                Partially Destroyed Firearm Magazines (2)
43   Samuel Supnick                Photograph: Contents of Backpack (BN 344)
44   Samuel Supnick                Photograph: Methamphetamine (BN 350)
45   Samuel Supnick                Baggies
46   Samuel Supnick                Scale
47   Samuel Supnick                Tupperware
48   Samuel Supnick                Measuring Cup
49   Samuel Supnick                Audio Clip: Defendant’s Jail Call No. 5 (20 seconds)
50   Samuel Supnick                Audio Clip: Defendant’s Jail Call No. 6 (25 seconds)
51     R. Andrew                   DPS Lab Report (summary) re: Methamphetamine Test
         Barber                    Results (BN 511)



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                                                   Respectfully submitted,

                                                   JOHN C. ANDERSON
                                                   United States Attorney

                                                   /s/
                                                   JAYMIE L. ROYBAL
                                                   Assistant United States Attorney
                                                   P.O. Box 607
                                                   Albuquerque, N.M. 87103
                                                   (505) 224-1413


I HEREBY CERTIFY that I filed the foregoing pleading electronically through the CM/ECF
system which caused defense counsel, Joe Romero, to be served by electronic means, as reflected
on the Notice of Electronic Filing as indicated therein on August 31, 2020.

/s/
Jaymie L. Roybal
Assistant United States Attorney




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